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                                                                               SIGRID MCCAWLEY
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                                       April 22, 2021


VIA ECF

Honorable Judge Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square, Room 906
New York, NY 10007

       Re:     United States v. Ghislaine Maxwell
               Case No. 20 Cr. 330 (AJN)

Dear Judge Nathan,
      Minor Victim-2 respectfully request that this Court will allow attorneys, Sigrid McCawley
and David Boies to bring to the Courthouse, a Personal Electronic Device and a General-Purpose
Computing Device for all scheduled hearings and the jury trial in the above-styled case.
        Minor Victim-2 has attached the Electronic Device General Purpose form as Exhibit A
hereto. Counsel will comply with the obligations and restrictions imposed pursuant to Standing
Order M10-468, as Revised.


                                    Sincerely,
                                    /s/ Sigrid McCawley

                                    Sigrid McCawley, Esq.
